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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RONALD HINTON,                                )
                                              )
               Plaintiff,                     )       No. 15 C 10240
                                              )
                       v.                     )       Honorable Robert W. Gettleman
                                              )       Judge Presiding
MARCUS HARDY, et al.,                         )
                                              )
               Defendants.                    )

             ANSWER TO PLAINTIFF’S SECOND AMENDED COMPLAINT
       Now come Defendants, Marcus Hardy, Joel Dunmars, and Troy Johnson, by and through

their attorney Lisa Madigan, Attorney General of the State of Illinois, and hereby Answer

Plaintiff’s Second Amended Complaint as follows:

                                       JURISDICTION
       1.     This Court has jurisdiction over plaintiff’s Federal claims pursuant to 28 U.S.C.
Section 1331 and 1334(a)(3).
ANSWER: Defendants admit that this Court would have jurisdiction over this matter under
28 U.S.C. §§ 1331 and 1343(a) were this action proper. However, Defendants deny any
violation or deprivation of Plaintiff’s rights.
                                             VENUE
       2.     The Northern District of Illinois is an appropriate venue under 28 U.S.C. Section
1391(b)(2) because the events, acts and omissions giving rise to the claim occurred in this District.

ANSWER: Defendants admit that venue is proper in the Northern District of Illinois.
                                            PARTIES
       3.      Plaintiff, RONALD HINTON, is an inmate in the Illinois Department of
Corrections at Stateville Correctional Center. Violation of the plaintiff’s constitutional rights
occurred at Stateville Correction Center.
ANSWER: Defendants admit that Plaintiff is an inmate in the Illinois Department of
Corrections at Stateville Correctional Center. Defendants deny the remaining allegations in
paragraph 3 of Plaintiff’s Second Amended Complaint.
      4.     MARCUS HARDY, at all relevant times, was/is the Chief Administrative Officer,
Warden, Correctional Officer and/or employee of the Illinois Department of Corrections and

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assigned to Stateville Correctional Center. Defendant MARCUS HARDY is sued in his individual
capacity.
ANSWER: Defendants admit that Marcus Hardy was the Chief Administrative Officer at
Stateville Correctional Center during certain relevant times in this lawsuit. Further,
Defendants admit that Plaintiff purports to sue Defendant Hardy in his individual capacity.
Defendants deny the remaining allegations in paragraph 4 of Plaintiff’s Second Amended
Complaint.
       5.      Defendant, TROY JOHNSON, at all relevant times, was/is the Maintenance
Officer, Correctional Officer and/or employee of the Illinois Department of Corrections and
assigned to Stateville Correctional Center. Defendant TROY JOHNSON is sued in his
individual capacity.
ANSWER: Defendants admit that Troy Johnson was the Chief Engineer at Stateville
Correctional Center. Further, Defendants admit that Plaintiff purports to sue Defendant
Johnson in his individual capacity. Defendants deny the remaining allegations in paragraph
5 of Plaintiff’s Second Amended Complaint.
       6.     Defendant, JOEL DUNMARS, at all relevant times, was/is a Correctional Officer
and/or employee of the Illinois Department of Corrections and assigned to Stateville Correctional
Center. Defendant JOEL DUNMARS is sued in his individual capacity.1
ANSWER: Defendants admit that Joel Dunmars is a correctional lieutenant with the Illinois
Department of Corrections who worked at Stateville Correctional Center during certain
relevant times in this lawsuit. Further, Defendants admit that Plaintiff purports to sue
Defendant Dunmars in his individual capacity. Defendants deny the remaining allegations
in paragraph 6 of Plaintiff’s Second Amended Complaint.
       7.      At all times relevant to the events described herein, all the defendants have acted
under color of state law.
ANSWER: Defendants admit the allegations in paragraph 7 of Plaintiff’s Second Amended
Complaint.
                                      FACTUAL ALLEGATIONS
       8.      Stateville Correctional Center is a maximum security facility and/or the unit in
which the plaintiff was housed is a maximum security unit.
ANSWER: Defendants admit that Stateville Correctional Center is a maximum facility
prison. Defendants deny the remaining allegations in paragraph 8 of Plaintiff’s Second
Amended Complaint.




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 Although Plaintiff’s Second Amended Complaint claims to sue Defendant Joel Dunmars in his official capacity, the
Court amended the Second Amended Complaint to reflect that Defendant Joel Dunmars is being sued in his individual
capacity. (ECF No. 60.)

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       9.     At all relevant times, the plaintiff was assigned to Cell B-825. Cell B-825 is
approximately six feet by ten feet. The plaintiff shared the cell with a fellow inmate. The cell
contains “bunk beds” one low and one high. The plaintiff was assigned to the top bunk bed.
ANSWER: Defendants admit that during a certain time period, Plaintiff was assigned to cell
“B-825” which has a bunk bed. Defendants deny the remaining allegations in paragraph 9
of Plaintiff’s Second Amended Complaint.
       10.     Inmates including the plaintiff assigned to the aforementioned housing unit are
confined to their cells 23 of 24 hours.
ANSWER: Defendants deny the allegations in paragraph 10 of Plaintiff’s Second Amended
Complaint.
        11.     When the plaintiff was assigned and placed in Cell B-825, two bolts protruded from
the wall which posed a significant and unreasonable risk of harm. The bolts existed to hold a shelf
in place but the shelf had been removed. Although the shelf had been removed, the bolts remained.

ANSWER: Defendants deny the allegations in paragraph 11 of Plaintiff’s Second Amended
Complaint.
       12.     The shelf was removed by Illinois Department of Corrections personnel.
ANSWER: Defendants deny the allegations in paragraph 12 of Plaintiff’s Second Amended
Complaint.
      13.      The exposed bolts existed for a significant period of time, in excess of nine (9)
months.

ANSWER: Defendants deny the allegations in paragraph 13 of Plaintiff’s Second Amended
Complaint.
        14.    On multiple occasions the plaintiff suffered injuries. The plaintiff was lucky in that
the injuries were relatively minor.
ANSWER: Defendants deny the allegations in paragraph 14 of Plaintiff’s Second Amended
Complaint.
        15.   The plaintiff made numerous verbal complaints to numerous employees of the
Illinois Department of Corrections including the defendants HARDY, JOHNSON and
DUNMARS.
ANSWER: Defendants deny the allegations in paragraph 15 of Plaintiff’s Second Amended
Complaint.
        16.    Defendant HARDY had actual knowledge of the condition, observed the condition,
was aware of the dangers it posed, had significant time and opportunity to safeguard the condition,
but did nothing. Specifically:
               (a)     On or about July 13, 2012 a written emergency grievance was directed to
                       the attention of HARDY;
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             (b)    On or about July 24, 2012, defendant HARDY toured “B-House” along
                    with other individuals believed to be affiliated with “John Howard
                    Association”. He was told of the condition and observed the condition and
                    was apprised of the prior injuries sustained by the plaintiff as well as the
                    numerous complaints that had been made;
             (c)    On August 29, 2012 a written emergency grievance was directed to
                    HARDY;
             (d)    On or about September 19, 2012, defendant HARDY was present in B-
                    House and was specifically advised of the protruding bolts, injuries
                    sustained by plaintiff’s cellmate from the bolts;
             (e)    On or about October 10, 2012, a written letter was directed to HARDY
                    apprising him that the condition had not been addressed;
             (f)    On or about October 25, 2012, defendant HARDY toured “B-House” and
                    was apprised that the condition still existed.
             (g)    Defendant JOHNSON had actual knowledge of the condition, the
                    significant danger and did nothing. On or about July 23, 2012, written
                    communication was directed to defendant JOHNSON.
             (h)    Defendant JOHNSON was given other verbal/written complaints related to
                    the dangerous condition.
ANSWER: Defendants deny the allegations in paragraph 16, specifically subparagraphs (a)
through (h) of Plaintiff’s Second Amended Complaint.
      17.    Defendant JOHNSON knew of the condition.

ANSWER: Defendants deny the allegations in paragraph 17 of Plaintiff’s Second Amended
Complaint.
      18.    Defendant JOHNSON had the power and responsibility to correct the condition.
ANSWER: Defendants deny the allegations in paragraph 18 of Plaintiff’s Second Amended
Complaint.
       19.     Defendant JOHNSON knew the protruding bolts posed an unnecessary and
unreasonable risk of significant injury.
ANSWER: Defendants deny the allegations in paragraph 19 of Plaintiff’s Second Amended
Complaint.
      20.    Defendant JOHNSON did nothing.

ANSWER: Defendants deny the allegations in paragraph 20 of Plaintiff’s Second Amended
Complaint.



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       21.     Defendant DUNMARS was given multiple verbal and written warnings.
ANSWER: Defendants deny the allegations in paragraph 21 of Plaintiff’s Second Amended
Complaint.
       22.     On or about July 24, 2012, the plaintiff directed a letter to defendant DUNMARS
advising of the condition, its danger and that he had sustained injuries.
ANSWER: Defendants deny the allegations in paragraph 22 of Plaintiff’s Second Amended
Complaint.
        23.     Defendant DUNMARS had actual knowledge of the dangerous condition and that
it posed a significant risk of significant injury.

ANSWER: Defendants deny the allegations in paragraph 23 of Plaintiff’s Second Amended
Complaint.
       24.     Defendant DUNMARS had the ability and responsibility to address the condition.
ANSWER: Defendants deny the allegations in paragraph 24 of Plaintiff’s Second Amended
Complaint.
       25.     Defendant DUNMARS did nothing.
ANSWER: Defendants deny the allegations in paragraph 25 of Plaintiff’s Second Amended
Complaint.
        26.     On or about March 20, 2013, the plaintiff was exiting his assigned bunk, the top
bunk and fell forward with his right eye making direct contact with the protruding bolt causing
significant injury.
ANSWER: Defendants deny the allegations in paragraph 26 of Plaintiff’s Second Amended
Complaint.
       27.     As a direct and proximate result, the plaintiff has had to endure significant medical
treatment and surgical intervention and despite the above has significant residual impairment in
addition to physical and emotional pain and suffering disability and disfigurement all of which are
continuing.
ANSWER: Defendants deny the allegations in paragraph 27 of Plaintiff’s Second Amended
Complaint.
       28.     The plaintiff has exhausted all available administrative remedies related to the
matters described in his Second Amended Complaint.

ANSWER: Defendants deny the allegations in paragraph 28 of Plaintiff’s Second Amended
Complaint.




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                                           COUNT I
                       DEFENDANT HARDY 42 U.S.C. Section 1983
     29.   The plaintiff adopts, realleges and incorporates paragraphs 1-27 of his Second
Amended Complaint at Law as if fully set forth herein.
ANSWER: Defendants incorporate by reference all responses in the above paragraphs 1-27
as their answer to paragraph 29 of Plaintiff’s Second Amended Complaint.
        30.     The defendant acted with deliberate indifference as to the protruding bolts which
constituted a dangerous condition posing a significant risk of harm and in so doing violated the
plaintiff’s constitutional right under the Eighth Amendment of the Constitution of the United
States. The plaintiff was denied his constitutional right to be free from cruel and unusual
punishment and has sustained irreparable injury.

ANSWER: Defendants deny the allegations in paragraph 30 of Plaintiff’s Second Amended
Complaint.
        31.     The defendant knowingly and intentionally deprived the plaintiff of his
constitutional right to be free of cruel and unusual treatment.
ANSWER: Defendants deny the allegations in paragraph 31 of Plaintiff’s Second Amended
Complaint.
                                          COUNT II
                      DEFENDANT JOHNSON 42 U.S.C. Section 1983
     32.   The plaintiff adopts, realleges and incorporates paragraphs 1-27 of his Second
Amended Complaint at Law as if fully set forth herein.
ANSWER: Defendants incorporate by reference all responses in the above paragraphs 1-27
as their answer to paragraph 32 of Plaintiff’s Second Amended Complaint.
        33.     The defendant acted with deliberate indifference as to the protruding bolts which
constituted a dangerous condition posing a significant risk of harm and in so doing violated the
plaintiff’s constitutional right under the Eighth Amendment of the Constitution of the United
States. The plaintiff was denied his constitutional right to be free from cruel and unusual
punishment and has sustained irreparable injury.
ANSWER: Defendants deny the allegations in paragraph 33 of Plaintiff’s Second Amended
Complaint.
        34.     The defendant knowingly and intentionally deprived the plaintiff of his
constitutional right to be free of cruel and unusual treatment.

ANSWER: Defendants deny the allegations in paragraph 34 of Plaintiff’s Second Amended
Complaint.



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                                          COUNT III
                      DEFENDANT JOHNSON 42 U.S.C. Section 1983
     35.   The plaintiff adopts, realleges and incorporates paragraphs 1-27 of his Second
Amended Complaint at Law as if fully set forth herein.
ANSWER: Defendants incorporate by reference all responses in the above paragraphs 1-27
as their answer to paragraph 35 of Plaintiff’s Second Amended Complaint.
        36.     The defendant acted with deliberate indifference as to the protruding bolts which
constituted a dangerous condition posing a significant risk of harm and in so doing violated the
plaintiff’s constitutional right under the Eighth Amendment of the Constitution of the United
States. The plaintiff was denied his constitutional right to be free from cruel and unusual
punishment and has sustained irreparable injury.

ANSWER: Defendants deny the allegations in paragraph 36 of Plaintiff’s Second Amended
Complaint.
        37.     The defendant knowingly and intentionally deprived the plaintiff of his
constitutional right to be free of cruel and unusual treatment.
ANSWER: Defendants deny the allegations in paragraph 37 of Plaintiff’s Second Amended
Complaint.
       WHEREFORE, the plaintiff, prays that judgment be entered in his favor on his Second
Amended Complaint at Law and against the defendant, MARCUS HARDY, TROY JOHNSON,
and JOEL DUNMARS, for monetary damages to compensate the plaintiff for his injuries, punitive
damages for the willful wanton and intentional conduct of the defendants and for Court costs and
attorney’s fees.

ANSWER: Defendants deny that Plaintiff is entitled to any relief whatsoever.
                                     GENERAL DENIAL

       Defendants deny each and every allegation not specifically admitted herein.

                                 AFFIRMATIVE DEFENSES

       Now come Defendants Marcus Hardy, Joel Dunmars, and Troy Johnson, through their

attorney, Lisa Madigan, Illinois Attorney General, to plead the following Affirmative Defense:

                                   First Affirmative Defense
                                     Qualified Immunity

       At all times relevant herein, Defendants acted in good faith and in furtherance of lawful

objectives without violating Plaintiff’s clearly established statutory or constitutional rights of

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which a reasonable person would have known. Defendants are therefore protected from suit by

the doctrine of qualified immunity.

                                       JURY DEMAND

       Defendants demand a trial by jury on all issues herein triable.


                                                     Respectfully submitted,

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Attorney General of Illinois
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on March 15, 2017, she electronically filed the foregoing
document with the Clerk of the Court for the United States District Court for the Northern District
of Illinois using the CM/ECF system. Participants in the case are registered CM/ECF users and
will be served by the CM/ECF system.

                                                     /s/ Deborah J. Baker




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